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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

GEORGE CLINTON, et al.,

VS CASE NO. 4:99CV242-RH
ARMEN BOLADIAN, et al.,
JUDGMENT

This action came before the Court for consideration with the Honorable Robert L.
Hinkle presiding. The issues have been considered and a decision has been rendered.
Pursuant to Federal Rule of Civil Procedure 54(b), all claims of plaintiffs are dismissed
with prejudice.

ROBERT A. MOSSING, CLERK

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January 30, 2001 . A t4-
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